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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION



 Michelle L Fraley,

                          Plaintiff,               Civil Action No.

           – against–

 Mariner Finance, LLC and Equifax
 Information Services, LLC,
                         Defendant(s).



                                       COMPLAINT

       Plaintiff, Michelle L Fraley (hereinafter “Plaintiff”), by and through her attorneys,

the Law Offices of Robert S. Gitmeid & Associates, PLLC, by way of Complaint against

Defendants, Mariner Finance, LLC (“Mariner”), and Equifax Information Services, LLC

(“Equifax”), alleges as follows:

                                   INTRODUCTION

      1. This is an action for damages brought by an individual consumer for

          Defendants’ violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et

          seq. (the “FCRA”) and other claims related to unlawful credit reporting

          practices. The FCRA prohibits furnishers of credit information from falsely and

          inaccurately reporting consumers’ credit information to credit reporting

          agencies.

                                        PARTIES

      2. Plaintiff, Michelle L Fraley, is an adult citizen of Ohio.


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    3. Plaintiff is a "consumer" as defined by 15 U.S.C. § 1681a(c) of the FCRA.

    4. Defendant Mariner is a business entity that furnishes consumer credit

       information to consumer reporting agencies.

    5. Defendant Equifax is a limited liability company that engages in the business of

       maintaining and reporting consumer credit information.

                            JURISDICTION AND VENUE

    6. This Court has subject matter jurisdiction over this matter pursuant to 28

       U.S.C. § 1331 because the rights and obligations of the parties in this action a

       Mariner out of 15 U.S.C. § 1681 and 15 U.S.C. § 1681p, which provides that an

       action to enforce any liability created under 15 U.S.C. § 1681 may be brought

       in any appropriate United States District Court, without regard to the amount in

       controversy.

    7. Venue in this district is proper pursuant to 28 U.S.C. § 1391 (b)(2) because a

       substantial part of the events and omissions giving rise to Plaintiff’s claims

       occurred in Ohio where the Plaintiff resides.

                              FACTUAL ALLEGATIONS

    8. Defendant Mariner issued a credit card account ending in 3313 to Plaintiff.

       The account was routinely reported on Plaintiff’s consumer credit report.

    9. The consumer report at issue is a written communication of information

       concerning Plaintiff’s credit worthiness, credit standing, credit capacity,

       character, general reputation, personal characteristics, or mode of living which

       is used or for the purpose of serving as a factor in establishing the consumer’s




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       eligibility for credit to be used primarily for personal, family, or household

       purposes as defined by 15 U.S.C. § 1681a(d)(1) of the FCRA.

    10. On or about May 7, 2020, Plaintiff and Mariner entered into a settlement

       agreement for the above referenced account. A copy of the settlement

       agreement is attached hereto as Exhibit A.

    11. Pursuant to the terms of the settlement, Plaintiff was required to make one (1)

       lump sum payment totaling $644.64 to settle and close her Mariner account.

    12. Plaintiff, via her debt settlement representative, timely made the requisite

       settlement payments. Proof of this payment is attached hereto as Exhibit B.

    13. However, nearly two years later, Plaintiff’s Mariner account continued to be

       negatively reported.

    14. In particular, on a requested credit report dated March 24, 2022, Plaintiff’s

       Mariner account was reported with a status of “CHARGE OFF,” a balance of a

       balance of $427.00, and a past due balance of $427.00. The relevant portion of

       Plaintiff’s credit report is attached hereto as Exhibit C.

    15. This tradeline was inaccurately reported. As evidenced by the enclosed

       documents, the account was settled for less than full balance and must be

       reported as settled with a balance of $0.00.

    16. On or about March 25, 2022, Plaintiff, via her attorney at the time, notified

       credit reporting agencies directly of a dispute with completeness and/or

       accuracy of the reporting of Plaintiff’s Mariner account. A redacted copy of

       this letter is attached hereto as Exhibit D.




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    17. Therefore, Plaintiff disputed the accuracy of the derogatory information

       reported by Mariner to credit reporting agencies via certified mail in

       accordance with 15 U.S.C. § 1681i of the FCRA.

    18. In May of 2022, Plaintiff requested updated credit reports for review. The

       tradeline for Plaintiff’s Mariner account remained inaccurate, as Defendants

       failed to correct the inaccuracy. The relevant portion of the May 2022 credit

       report is attached hereto as Exhibit E.

    19. Equifax did not notify Mariner of the dispute by Plaintiff in accordance with

       the FCRA, or alternatively, did notify Mariner and Mariner failed to properly

       investigate and delete the tradeline or properly update the tradeline on

       Plaintiff’s credit reports.

    20. If Mariner had performed a reasonable investigation of Plaintiff’s dispute,

       Plaintiff’s Mariner account would have been updated to reflect a “settled”

       status with a balance of $0.00.

    21. Despite the fact that Mariner has promised through its subscriber agreements or

       contracts to accurately update accounts, Mariner has nonetheless willfully,

       maliciously, recklessly, wantonly, and/or negligently failed to follow this

       requirement as well as the requirements set forth under the FCRA, which has

       resulted in the intended consequences of this information remaining on

       Plaintiff’s credit reports.

    22. Defendants failed to properly maintain and failed to follow reasonable

       procedures to assure maximum possible accuracy of Plaintiff’s credit

       information and Plaintiff’s credit reports, concerning the account in question,



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       thus violating the FCRA. These violations occurred before, during, and after

       the dispute process began with Equifax.

    23. At all times pertinent hereto, Defendants were acting by and through their

       agents, servants and/or employees, who were acting within the scope and

       course of their employment, and under the direct supervision and control of the

       Defendants herein.

    24. At all times pertinent hereto, the conduct of Defendants, as well as that of their

       agents, servants and/or employees, was malicious, intentional, willful, reckless,

       negligent and in wanton disregard for federal law and the rights of the Plaintiff

       herein.

                               CLAIM FOR RELIEF

    25. Plaintiff reasserts and incorporates herein by reference all facts and allegations

       set forth above.

    26. Equifax is a “consumer reporting agency,” as codified at 15 U.S.C. § 1681a(f).

    27. Mariner is an entity that, regularly and in the course of business, furnishes

       information to one or more consumer reporting agencies about its transactions

       or experiences with any consumer and therefore constitutes a “furnisher,” as

       codified at 15 U.S.C. § 1681s-2.

    28. Mariner is reporting inaccurate credit information concerning Plaintiff to one or

       more credit bureaus as defined by 15 U.S.C. § 1681a of the FCRA.

    29. Plaintiff notified Defendants directly of a dispute on the account’s

       completeness and/or accuracy, as reported.




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      30. Mariner failed to complete an investigation of Plaintiff’s written dispute and

           provide the results of an investigation to Plaintiff and the credit bureaus within

           the 30-day statutory period as required by 15 U.S.C. § 1681s-2(b).

      31. Mariner failed to promptly modify the inaccurate information on Plaintiff’s

           credit reports in violation of 15 U.S.C. § 1681s-2(b).

      32. Equifax failed to delete information found to be inaccurate, reinserted the

           information without following the FCRA, or failed to properly investigate

           Plaintiff’s disputes.

      33. Equifax failed to maintain and failed to follow reasonable procedures to assure

           maximum possible accuracy of Plaintiff’s credit reports, concerning the

           account in question, violating 15 U.S.C. § 1681e(b).

      34. As a result of the above violations of the FCRA, Plaintiff suffered actual

           damages in one or more of the following categories: lower credit score, denial

           of credit, embarrassment and emotional distress caused by the inability to

           obtain financing for everyday expenses, rejection of credit card application,

           higher interest rates on loan offers that would otherwise be affordable and other

           damages that may be ascertained at a later date.

      35. As a result of the above violations of the FCRA, Defendants are liable to

           Plaintiff for actual damages, punitive damages, statutory damages, attorney’s

           fees and costs.

      WHEREFORE, Plaintiff demands that judgment be entered against Defendants as

follows:

      1. That judgment be entered against Defendants for actual damages
         pursuant to 15 U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o;

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       2. That judgment be entered against Defendants for punitive damages
          pursuant to 15 U.S.C. § 1681n;

       3. That the Court award costs and reasonable attorney's fees pursuant to 15
          U.S.C. § 1681n or alternatively, 15 U.S.C. § 1681o; and

       4. That the Court grant such other and further relief as may be just and
          proper.

                            DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands

trial by jury in this action of all issues so triable.


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